Case 3:14-cr-00028-HTW-LRA   Document 171   Filed 04/16/08   Page 1 of 6
Case 3:14-cr-00028-HTW-LRA   Document 171   Filed 04/16/08   Page 2 of 6
Case 3:14-cr-00028-HTW-LRA   Document 171   Filed 04/16/08   Page 3 of 6
Case 3:14-cr-00028-HTW-LRA   Document 171   Filed 04/16/08   Page 4 of 6
Case 3:14-cr-00028-HTW-LRA   Document 171   Filed 04/16/08   Page 5 of 6
Case 3:14-cr-00028-HTW-LRA   Document 171   Filed 04/16/08   Page 6 of 6
